

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS







NO. WR-67,975-01






DANIEL TORRES, Relator


v.


 292ND JUDICIAL DISTRICT COURT, Respondent







ON APPLICATION FOR A WRIT OF MANDAMUS


CAUSE NO. W02-52670-V(A)
			

FROM DALLAS COUNTY





	Per curiam.


O R D E R



	Relator has filed a motion for leave to file a writ of mandamus pursuant to the original jurisdiction
of this Court.  In it, he contends that he filed an application for a writ of habeas corpus in the 292nd Judicial
District Court of Dallas County, that more than 35 days have elapsed, and that the application has not yet
been forwarded to this Court. Relator contends that the district court entered an order designating issues
on December 12, 2005.

	 In these circumstances, additional facts are needed.  The respondent, the judge of the 292nd
District Court of Dallas County, is ordered to file a response with this Court by having the District Clerk
submit the record on such habeas corpus application or by setting out the reasons that no findings have
been made since the order designating issues was entered.  This application for leave to file a writ of
mandamus will be held in abeyance until the respondent has submitted the appropriate response.  Such
response shall be submitted within 30 days of the date of this order.


Filed:  August 22, 2007

Do not publish	


